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                                                                          /




                                                                              Dec 13 2021
JEROME L. GRIMES, B.A, & MBA,
P.O. Box 2433                                                                   s/ AmyC

Eatonville, FL 32751
Telephone: (219) 808-0306
Email: j.grimes7145@o365.ncu.edu
PLAINTIFF, IN PRO SE

                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA

                                SAN DIEGO DIVISION


                                            COMPLAINT CASE NO.        '21CV2093 JLS BLM

Jerome L. Grimes,

Plaintiff,

vs.


      1. Al-AUTO CARE, (A domestic for-profit corporation),
      2. S & R TOWING, (A domestic for-profit corporation)
      3. CARLSBAD AUTO SERVICE, INC., (A domestic for-profit corporation)
      4. WAYNE MILACK,
             (of CARLSBAD, CALIFORNIA)
Defendants.



                                COMPLAINT

      Plaintiff, JEROME L. GRIMES (JEROME L. GRIMES, B.A., & MBA),

individually, by and through undersigned IN PRO SE, plaintiff, hereby file this

"ORIGINAL" complaint against S & R TOWING, LLC., ET., AL., (Multiple          domestic
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(LLC} limited liability corporations), as follows; AND I declare under the penalty

of perjury, under the laws of the (USA)       United States of America and Its

Territories, that the foregoing is true and correct to the best of my knowledge

and discovered through In Pro Se, Independent Investigation:


lA. This is an action brought under the jurisdiction of this Court invoked pursuant

28 U.S.C. 1332; Diversity of Citizenship of the Federal Rules of Civil Procedure,

seeking damages and declaratory relief and involving an amount in controversy

in excess of $75,000.

2A. Defendant, S & R TOWING, INC., is a domestic (LLC) limited liability corporation,

incorporated under the laws of California with its principal place of business in

Carlsbad, California, 3199 Tyler Street, Carlsbad, Carlsbad 92008, (760) 547-6686;

(800) 748-6686, OWNED by DEFENDANT#: 2.

28. Defendant, Al-AUTO CARE, is a domestic (LLC) limited liability corporation,

incorporated under the laws of California with its principal place of business in

Carlsbad, California, 3193 Tyler Street, Carlsbad, Carlsbad 92008, (760) 729-5234,

OWNER of DEFENDANT#: 1; and CO-OWNER of DEFENDANT#: 3.

2C. Defendant, CARLSBAD AUTO SERVICE, INC., is a domestic (LLC) limited liability

corporation, incorporated under the laws of California with its principal place of

business in Carlsbad, California, 3181 Tyler Street, Carlsbad, Carlsbad 92008, (760)

924-9600, OWNED by DEFENDANT#: 2.
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2D. Defendant, WAYNE MALICK, is a domestic (LLC) limited liability corporation,

incorporated under the laws of California with its principal place of business in

Carlsbad, California, 3199 Tyler Street, Carlsbad, Carlsbad 92008, (760) 547-6686;

(800) 748-6686, CO-OWNER of DEFENDANT#: 3.

3A. The Plaintiff, JEROME L. GRIMES (PLAINTIFF) (PAYING CUSTOMER) is a citizen and

resident of Macclenny, Florida .


4A.                                GENERAL ALLEGATIONS


SA.   The DEFENDANT, S & R Towing, LLC., along with CO-DEFENDANTS: Al-AUTO

CARE; CARLSBAD AUTO CARE, INC.; and WAYNE MILACK has "NEGLIGENTLY"

caused substantial financial harm to the PLAINTIFF, Jerome L. Grimes' personal

private property, i.e., 2018, SUV-automobile VIN: 3N1CPSCU9JL524677, while said

automobile was situated on the Carlsbad, California facility, via a September 20,

2021, (State Actor)/Carlsbad Police automobile towing transaction, which FAILED

the Duty of Care owed to the PLAINTIFF by the DEFENDANT, S & R TOWING, INC.,

and CO-DEFENDANTS who are all Liable, Co-liable, and Vicariously Liable for the

NEGLIGENCE and SUPERVISORY NEGLIGENCE discovered through In Pro Se,

Independent Investigation and the FACT that it takes teamwork/(Shills) to REMOVE

and REPLACE and TRANSPORTATION Vehicle/(Automobile TRANSMISSION).
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 6A.         On, September 20, 2021, the DEFENDANT'S Paying Customer/(PLAINTIFF),

Jerome L. Grimes, was a Victim of Automobile Tamper-Transmission Theft/(SWAP}

        11
with MALICE" by the Defendant's EMPLOYEES and SHILLS next door to their S & R

Tow Yard, i.e., Al-AUTO CARE and CARLSBAD AUTO SERVICE, INC., an automobile

repair shop, which had the Intent to INTIMIDATE the PLAINTIFF for the sole-

purpose TO ILLEGALY GAIN MORE TIME FOR CALIFORNIA PENAL CODE 664/187

11
     AGAINST" THE      PLAINTIFF using Covert Remote Control 2018-Automobile

ATTEMPTED Vehicular Manslaughter, i.e., Automobile Accident Rouse Masquerade

ILLEGALLY INDUCED By An UNAUTHORIZED REMOTE CONTROL TRANSMISSION

11
     ILLEGALLY" INSTALLED ONTO THE PLAINTIFF'S 2018-AUTOMOBILE WITH COVERT

TRANSPORTATION           VEHICLE        TERROR    INTENT   "without" THE     PLAINTIFF'S

KNOWLEDGE -or- CONSENT amounting to MORE THAN                        GRAND THEFT 2018-

                                   11
AUTOMOBILE TRANSMISSON AGAINST" THE PLAINTIFF.


7A.      On or about, September 21, 2021, the PLAINTIFF retrieved HIS/(PLAINTIFF'S)

2018-Automobile-SUV from the DEFENDANT and the Wheel Hub Bearing

11                                           11
     immediately" went-out LULLING the Detection" of the 11 lllegally and maliciously

Installed" REMOTE CONTROL TRANSMISSION on the PLAINTIFF'S Personal Private

Property        2018-automobile-SUV.      The     PLAINTIFF'S   2018-automobile   became

COINCIDENTALLY inoperable for (9) Nine days, from approximately: October 08,
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2021-to- October 17, 2021, and the PLAINTIFF'S 2018-automobile-SUV Front-right

Wheel Hub REPAIR costed $200.00 (Two Hundred Dollars) after the, September 21,

2021, $363.00 - Towing Storage FEES (Three Hundred And Sixty-three Dollars) PAID

to the DEFENDANT, PAID by the PLAINTIFF/(a "S & R TOWING Paying-Customer").

November 16, 2021 the "Illegally Installed" REMOTE CONTROL 2018-Automobile

Transmission was DETECTED by the PLAINTIFF through "near swoop & swap diesel

truck simultaneous transmission remote control premeditated malfunction rouse

on Highway 78/(freeway) near City of Carlsbad, 11/16/2021", i.e., California Penal

Code 664/187 - PREMEDITATED Attempt of Homicide via Illegally Installed Remote

Controlled Automobile TRANSMISSION on the PLAINTIFF'S 2018-automobile-SUV,

discovered through In Pro Se, Independent Investigation.


SA.     The above-mentioned "illegal swapping" /(grand theft 2018-automobile

transmission) belonging to the PLAINTIFF occurred on the premises of the

DEFENDANT, i.e., Vicarious Liability/Supervisory Negligence FAILURE of Duty of

Care on, September 20, 2021 -through- September 21, 2021 and made the said

2018-automobile-SUV      inoperable   from,   November     16,   2021   -through-

Present/(12/07 /2021) (F.R.C.P. 33 & 34).


                               Standard of Review
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Premises Liability: is established by "Premises liability" is the liability that a

landowner or occupier has for certain torts that occur on their land (Turrisi -v.-

Ponderosa, Inc., 179 A.D.2d 956 [3d Dep't 1992]). In the premise liability case

Ponderosa moved for summary judgment dismissing the complaint on the ground

that it did not own, possess or control the parking lot area where Turrisi sustained

her injuries. -- Turrisi v. Ponderosa, Inc., 179 A.D.2d 956,957 (N.Y. App. Div. 1992).

But, in this HEREIN tort Jerome L. Grimes -vs-         S & R Towing, LLC., et., al., the

DEFENDANT possess dominion over their employees and control over their

employees on premises employment actions on, September 20-21, 2021 (F.R.C.P.


-33 & -34).

Negligence: is established when one person owes a duty to another person even

if there is no contract between them. In this HEREIN tort Jerome L. Grimes -vs- S

& R Towing, LLC., et., al., there was a binding contract that was established

between the DEFENDANT and State Actor, Carlsbad Police Department, the

DEFENDANT'S Carlsbad, California facility premises when the employees'

swapped PLAINTIFF'S 2018-automobile-SUV TRANSMISSION while the

PLAINTIFF'S personal private property 2018-automobile-SUV was under the

dominion of the DEFENDANT'S Carlsbad, California facility premises on,

September 20-21, 2021 (date}, where the DEFENDANT'S Carlsbad, California
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facility premises employees' stole, swapped, and removed PLAINTIFF'S personal

item: TRANSMISSION from the PLAINTIFF'S 2018-automobile-SUV on the dates

mentioned- above and discovered through In Pro Se, Independent Investigation

(F.R.C.P. 33 & 34}.


    Four elements are required to establish a prima fade case of negligence:

   1. the existence of a legal duty that the DEFENDANT owed to the PLAINTIFF
      (emphasis added}.
   2. defendant's breach of that duty (emphasis added}.
   3. PLAINTIFF'S sufferance of an injury (emphasis added}.
   4. proof that defendant's breach caused the injury (typically defined through
      proximate cause}(emphasis added}.


  ((Heaven v. Pender, CA ((1883) 11 QBD 503, 52 UQB 702, 49 LT 357, 47 JP 709)

has no bearing upon the present question. That case established that, under

certain circumstances, one man may owe a duty to another even though there is

no contract between them. If one man is near to another, or is near to the

property of another, a duty lies upon him not to do that which may cause a

personal injury to that other, or may injure his property."

                          Judgment in Heaven v. Pender

The Court of Appeal had to ask: What is the proper definition of a relation

between two parties, where it is not established by contract, which imposes on

one of them a duty to observe such ordinary care or skill as may be necessary to

prevent injury.
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Two of the judges concluded that the defendant owed a duty of care as an owner

of the land to the plaintiff, an invitee. The plaintiff was an invitee because the

defendant had an interest in his work. Therefore, he could not be a volunteer

Heaven v. Pender, CA ((1883) 11 QBD 503}.


Financial Fraud: Bank fraud: A fine of up to $1,000,000 and/or a prison sentence

of up to 30 years. Mail and wire fraud: Both carry a maximum prison sentence of

up to 20 years. If the scheme also involved a bank, the potential fine increases to

up to $100,000: [18 U.S.C., Section 3553 (a)].


Trespass to chattel refers to a wrongful use of another person's property without
his or her permission. Trespass to Chattel is an intentional interference with
another person's lawful possession of a personal property. A "chattel" refers to
any personal property, moving or unmoving. In order to prove trespass to
chattels, you are required to show the following elements:

   •   Intent to trespass: Merely intending to do the act is enough to show this
       element of trespass. You don't necessarily need to show intent to harm a
       specific person.
   •   Lack of owner's consent: There must be an unauthorized, unlawful
       interference, which means the person interfered with or dispossessed the
       chattel without the owner's permission.
   •   Interference of chattels: A person commits a trespass to chattel by (1)
       dispossessing another of the chattel, (2) using or intermeddling with a
       chattel in the possession of another, or (3) damaging the chattel.
       Interference does include dispossession of a chattel.




9A. Intimidation: is established by 18 USC 3553, 28 USC 994 stole the

PLAINTIFF'S 2018-Automobile TRANSMISSION and COVERTLY SABOTAGED

resulting in "extraordinary 2018-automobile repair fees" MONEY & TIME
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"needed" for Ph.D. Graduate School lulled/lost/ (time-robbed) October 08, 2021-

through- October 17, 2021, and November 16, 2021-through- Present/(date-of-

filing HEREIN).

lOA. The PLAINTIFF'S 2018-automobile-SUV TRANSMISSION "Fluids" ATTEMT-to-

REPAIR approximately costed $200.00 (Two Hundred Dollars) for (21} Twenty-one

QUARTS of CVT Transmission Fluid purchased by the PLAINTIFF "after" the date

of, November 16, 2021,

                                       Note 1

Fair Debt Collection Practices Act of 1977: (FDCPA) The Fair Debt Collection

Practices Act, Pub. L. 95-109; 91 Stat. 874, codified as 15 U.S.C. § 1692 -1692p,

approved on, September 20, 1977 is a consumer protection amendment,

establishing legal protection from abusive debt collection practices, to the

Consumer Credit Protection Act, as Title VIII of that Act. The statute's stated

purposes are: to eliminate abusive practices in the collection of consumer debts,

to promote fair debt collection, and to provide consumers with an avenue for

disputing and obtaining validation of debt information in order to ensure the

information's accuracy. The Act creates guidelines under which debt collectors

may conduct business, defines rights of consumers involved with debt collectors,

and prescribes penalties and remedies for violations of the Act. It is sometimes

used in conjunction with the Fair Credit Reporting Act.

llA.   The CUSTOMER SERVICE and the Duty of Care owed to the S & R TOWING,

LLC., Consumer/(PLAINTIFF} for the DEFENDANT to prevent S & R TOWING, LLC.'S,

et., al.'s Employees'/Shill's THEFT and FRAUD against the S & R TOWING, LLC.'S
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Consumers/(PLAINTIFF)/( a "Paying Customer"), pursuant to an indefinite part of

doing business by preventing NEGLIGENCE and/or Supervisory Negligence (Fair

Debt Collection Practices Act of 1977).


                   1.    The        federal         Fair      Debt
                   Collection     Practices Act of 1977
                   forbids debt collectors from using
                   obscene language, contacting third
                   parties other than to locate the
                   debtor (This provision is an attempt
                   to prevent harm to the debtor's
                   reputation.), using or threatening to
                   use   physical     force,        contact    the
                   debtor during "inconvenient" hours,
                   repeatedly call with the intent to
                   harass, or contact the debtor in an
                   unfair,      abusive,       or      deceptive
                   manner.

                   2.    Although          fraud      arises     in
                   countless situations and is difficult to
                   define, the legal community has
                   generally     adopted       the        following
                   elements, each of which must be
                   proved: (1) Misrepresentation of a
                   material         fact.           (2)        The
                   misrepresentation was intentional.
                   (3) The injured party justifiably relied
                   on the misrepresentation. (4) Injury
                   resulted.
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                   3.        One example of procedural
                   unconscionability is the use of "fine
                   print"     in        stating   a    contractual
                   provision. A contract of adhesion is
                   one that the courts wil l always
                   enforce because of the strong public
                   policy    underlying           such       contract.
                   Courts      provide        remedy         for     the
                   breach      of illegal         agreements.         A
                    contract       is     most      likely     to     be
                   found unconscionable if both unfair
                    bargaining and unfair substantive
                   terms are shown. An absence of
                    meaningful             choice        by          the
                    disadvantaged party is often used
                   to prove unfair bargaining, i.e., if
                    absence of ethical standards and
                    protocol against S & R Towing,
                    LLC.'S, Employees' THEFT against
                    valuable items: ($3,000.00) Three
                   Thousand                Dollars)/approximate
                    value,     i.e.,      2018-automobile-SUV
                    CVT-TRANSMISSION                belonging         to
                    the PAYING CUSTOMER, JEROME L.
                    GRIMES         (PLAINTIFF)           that        had
                    His/(PLAINITFF' S) 2018-automobile-
                    SUV "Temporarily" STORED at the
                    DEFENDANT'S premises pursuant to
                    California              Vehicle                 Code
                    22651(h)(Exh. A).

 (See:   Exhibit A, 4 -of- 4, Carlsbad Police Department Arrest Contact Report,
 identified as CAD Event Number: 210079100, 09/20/2021, 07:10 A.M.).
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                                      Note 2

1.        "General Liability Insurance Policy" means a
general liability policy for that may cover the following
claims:    Bodily injuries and property damage that a
business may have caused. Th is can include customer
slip and falls or employee accidents, like breaking a
client's windows while working at their Home.
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 12A.                                      COUNT I
        DECLARATORY RELIEF REGARDING NEGLIGENCE AND GENERAL LIABILITY
                                INSURANCE COVERAGE

 13A. The Plaintiffs reallege and reaver the allegations contained in paragraphs lA

 -THROUGH- 11A above.

 14A. This is an action for declaratory relief against S & R TOWING, LLC., et., al.,,

 pursuant to 28 U.S.C. Personal Property Tort Other Fraud, identified as 370 on the

 Civil Cover Sheet JS44 Form. Beyond a question of law and fact common to the

 claim of the representative parties, i.e., defendants are covered in their general

 liability insurance policy, and provides personal injury, i.e., grand theft of 2018-

 automobile-SUV TRANSMISSION and intimidation known as negligence coverage to

 individuals, invitees, and consumers Stare Decisis, trespass to the person when the

 defendants incorporated domestic for-profit in California and said general liability

 insurance is purchased. (Letang -v.- Cooper, 1 QB 232, EWCA Civ. 5, 2 Lloyd's

         Rep. 339, 2 All ER 929 (1964)).

 lSA.                                       COUNT II
 INDIVIDUAL CLAIM OF JEROME L. GRIMES AGAINSTS "S & R TOWING, LLC.", FOR
         FAILING TO PROVIDE DUTY TO VISITOR, I.E., GENERAL DUTY OF CARE

 16A.     The Plaintiff JEROME L. GRIMES realleges and reavers the allegations

 contained in paragraphs lA through 11A and 12A through 14A above as if fully set

 forth herein.

 17A. This is federal law cause of action against S & R TOWING, LLC., et., al.,

 pursuant to 28 U.S.C. Other Personal Property Damage Tort, identified as 380 on

 the Civil Cover Sheet JS44 Form. Beyond a question of law and fact common to the

 claim of the representative parties, i.e., defendants are covered in their general

 liability insurance policy, and provides other personal injury, i.e., repairs costs of
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damages sustained and intimidation known as supervisory negligence coverage to

individuals, invitees, and consumers Stare Decisis jurisprudence of law when the

defendants incorporated domestic for-profit in California and said general liability

insurance is purchased with Duty of Care imposed by law defendant had breached.

(Rowland -v.- Christian, 9 Cal. 2d 108 (1968)).

18A. As a direct result of the negligence of the defendants for which general

liability insurance coverage provides coverage to the invitees, consumers, and

visitors, the Plaintiff JEROME L. GRIMES has sustained injuries and damages as

follows: (a) past and future emotional pain and suffering; (b) loss of capacity of

enjoyment of life without that substantial financial personal private property of

value of more than $7,000.00 (Seven Thousand Dollars) and Ph.D. Graduate School

"interference & intimidation"; (c) expenses incurred to bring tort; (d) loss of 2022,

projected self-employment earnings; and (e) the aforementioned losses are either

permanent or continuing and PLAINTIFF will suffer losses in the future.

WHEREFORE, the Plaintiff JEROME L. GRIMES demands judgment against the

Defendant: S & R TOWING, LLC., et., al., for compensatory damages, costs to bring

suit, 2018-Automobile Towing and Storage Costs and any other relief deemed just

and proper. In addition, the PLAINTIFF demands trial by jury of all issues so triable.

19A.                                  COUNT Ill

INDIVIDUAL CLAIM OF JEROME L. GRIMES AGAINST S & R TOWING, LLC., ET., AL.,
                             FOR OTHER CIVIL RIGHTS

20A.   The Plaintiff JEROME L. GRIMES realleges and reavers the allegations

contained in paragraphs lA through 18A above as if fully set forth herein.

21A. This is federal law cause of action against S & R TOWING, LLC., et., al.,

pursuant to 28 U.S.C., Other Civil Rights Tort, identified as 440 on the Civil Cover
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Sheet JS44 Form. Beyond a question of law and fact common to the claim of the

representative parties, i.e., defendants are covered in their general liability

insurance policy, and provides other civil rights, i.e., fraudulent conversion and

trespass to chattels known as supervisory negligence coverage to individuals,

invitees, and consumers Stare Decisis jurisprudence of law when the defendants

incorporated domestic for-profit in California and said general liability insurance is

purchased with Duty of Care imposed by law defendants had caused substantial

financial harm through NEGLIGENCE, GRAND THEFT, and FRAUD against the

plaintiff on,      >-   September 21, 2021. (Rowland -v.- Christian, 9 Cal. 2d 108
                ~
(1968)).

   In addition, the Plaintiff demands trial by jury of all issues so triable.

WHEREFORE, the Plaintiff JEROME L. GRIMES demands judgment against

the Defendants: S & R TOWING, LLC.; Al-AUTO CARE; CARLSBAD AUTO

SERVICE, INC.; and WAYNE MALICK for compensatory damages, costs,

culpable damages and declaratory relief and involving an amount in controversy

in the SUM Certain Amount of: $300,000.00 (Three Hundred Thousand Dollars),

equaling a $75,000.00 in EACH CO-DEFENDANTS' individual capacity, and any


other relief deemed just and proper.

Dated: December 07, 2021
                                                           ~ci,
                                               erome L. Grimes, B.A., & MBA,

                                Ph.D. Graduate Student in Psychology at NCU online

                                                   In Pro Se, PLAINTIFF




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                                     References


Anderson -v.- Creighton, 483 U.S. 635, 640 {1987}.


 Le Lievre v. Gould 1 Q.B. 491, 497 {1893}.


 Letang -v.- Cooper, 1 QB 232, EWCA Civ. 5, 2 Lloyd's Rep. 339, 2 All ER 929


   {1964}).


 Rowland -v.- Christian, 9 Cal. 2d 108 {1968}.


 Turrisi v. Ponderosa, Inc., 179 A.D.2d 956,957 {N.Y. App. Div. 1992}.


 We consulted Google search {Intimidation}.


 We consulted Google search {Negligence}.


 We consulted Google search {Premise Liability}.




                                       Exhibits



 Exhibit!: Carlsbad police Incident Report, 4 of 4, 210079100, 09/20/2021, 07:10

              A.M, September 20, 2021.
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                                                            Carlsbad Police Department
                                                           Arrest/Juvenile Contact Report
                                                                                                  CaseNo.        2106301
                                                  210079100                                                     Arrest
                                CAD Event No.:

                                Prim"aryVIClim:   State of California
                                                                                           case Disposnion:

                                                                                                Report No.      2106301.1
                                                                                                                                                              4
                                                                                                                                                          Page4ol 4



  Due to Grimes' arrest the vehicle was stored per 22651(h) VC usin~         R Towing) Grimes' vehicle was
  additionally parked on the curb in front of a fire hydrant. A search of Grimes' person and vehicle
  revealed no weapons or contraband.

  I then transported Grimes to VDF where he was booked under the Orange County, Florida warrant#
  482019CF0117480 without incident.

 This incident was recorded using my body-worn camera which was later downloaded into the CBPD
 digital evidence system.

 EVIDENCE

 1.           BWC video; entered into CBPD digital evidence.




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Reporting Officer                                               Division I Or\,anizatK)n                      Reviewed   By
                                                                Investigations
CB5485 - Kearney, Sean                                                                                        CB5237 - Jackowski, Jason
                                                                Crimes of Violence
Report Dale                                                     Detective Assigned                            Reviewed Date
                                                                                                                                                          -
9/20/2021 7:10:41 AM                                                                                          09/20/2021 11 :53:42
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